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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 )
                                          )
                            Plaintiff,    )
                                          )
       vs.                                )       Case No. 1:21-cr-00160-002 (TJK)
                                          )
LOUIS ENRIQUE COLON,                      )       UNOPPOSED MOTION FOR
                                          )       ORDER TO PERMIT TRAVEL
                            Defendant.    )       TO SPARTANBURG, SC


       COMES NOW the defendant, Louis Enrique Colon, by and through undersigned

counsel, pursuant to 18 U.S.C. § 3142 and Rule 12 of the Federal Rules of Criminal

Procedure, and hereby respectfully requests this honorable court to enter an order

allowing him to travel to Spartanburg, SC, to visit his terminally ill uncle in hospice care.

In support of this motion the defendant states the following suggestions in support:

                             SUGGESTIONS IN SUPPORT

       1.      The defendant is on release and under the supervision of the U.S. Probation

and Pretrial Office for the Western District of Missouri.

       2.      The defendant respectfully requests the Court issue him a three-day travel

order so that he can visit his uncle who is terminally ill and under the care of Agape

Hospice Care in Spartanburg, SC.

       3.      If allowed to travel to Spartanburg, Mr. Colon will provide a detailed

itinerary and contact information to his pretrial officer. Mr. Colon would require a

three-day travel order, to allow for travel to Spartanburg, visits with his uncle and family

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and return travel to Kansas City. If the Court grants this travel request, the specific dates

of the three-day travel would then be determined between the defendant and his pretrial

officer but is anticipated to be shortly after the issuance of the order.

       4.      Senior Probation Officer Dan Schroeder has indicated he has no objection

to this request. He will require the defendant to provide an exact itinerary for his trip.

Undersigned counsel has contacted Assistant United States Attorney Christopher

Berridge, and he has no objection as to this request so long as the trip is short and a

detailed itinerary is provided to the pretrial officer.

       5.      The defendant agrees to a ruling on this motion without the requirement of

a hearing unless otherwise ordered by this court.

       WHEREFORE, defendant Colon respectfully requests that the Court issue a

three-day Travel Order allowing him to travel to Spartanburg, SC, as set out herein and

for such further and other relief as deemed appropriate by the Court.

                                             Respectfully submitted,

                                             WYRSCH HOBBS & MIRAKIAN, P.C.

                                             By:       / s/ James R. Hobbs
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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 29th day of March, 2021, the
foregoing was electronically filed with the Clerk of the Court using the CM/ECF system
which sent notification of such filing to all counsel of record.


                                          /s/ James R. Hobbs
                                       Attorney for Defendant




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